            Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 1 of 12




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                                 )
ANTHONY WATSON,                                  )
                                                 )
Plaintiff,                                       )
                                                 )
   v.                                            )
                                                 )
DORSTON BARTLETT, DAVID FINNERTY,                ) Civil Action No.
and KENNY ORCEL, in their individual capacities, )
and the MASSACHUSETTS BAY                        )
TRANSPORTATION AUTHORITY (MBTA),                 )
                                                 )
        Defendants.                              )
____________________________________________ )

                           COMPLAINT AND JURY DEMAND

                                      INTRODUCTION

       1.       This is a civil rights action against Dorston Bartlett, a Massachusetts Bay

Transportation Authority (MBTA) police officer who unlawfully used force against Anthony

Watson. When Mr. Watson tried to report Officer Bartlett’s assault, Officer Bartlett arrested

Mr. Watson and assaulted him again. Two MBTA sergeants are sued for causing Mr. Watson

to remain in custody for seven hours while they attempted to cover up the false arrest. All

three officers were indicted in Suffolk Superior Court for their actions. The MBTA is sued

for its policies or customs or permitting a subculture of animosity towards homeless people,

which caused the officers’ conduct in this case. The Defendants’ actions violated Mr.

Watson’s constitutionally protected right to express his criticism of the police and to be free

from excessive force and arrest without probable cause.
            Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 2 of 12




                                       JURISDICTION

       2.       This action is brought pursuant 42 U.S.C. § 1983 and § 1988, and the First,

Fourth and Fourteenth Amendments to the United States Constitution. Jurisdiction is

conferred on this Court by 28 U.S.C. § 1331 and § 1343. Supplemental jurisdiction over

claims arising under state law is authorized by 28 U.S.C. § 1367.

                                          PARTIES

       3.       Plaintiff Anthony Watson was, at all times relevant to this Complaint, a

resident of Suffolk County, Massachusetts, and is now a resident of New London,

Connecticut.

       4.       Defendant Dorston Bartlett was at all times relevant to this complaint a duly

appointed police officer of the MBTA Transit Police Department. His actions alleged in this

complaint were taken under the color of law. He is sued in his individual capacity.

       5.       Defendants David Finnerty and Kenny Orcel were at all times relevant to

this complaint duly appointed police sergeants in MBTA Transit Police Department. Their

actions alleged in this complaint were taken under the color of law. They are sued in their

individual capacities.

       6.       Defendant Massachusetts Bay Transportation Authority is by statute “a body

politic and corporate” and provides public transportation to the citizens of the

Commonwealth.

                                           FACTS

       7.       On July 27, 2018, Mr. Watson fell asleep on a Red Line train after drinking

alcohol. He was homeless at the time.



                                                2
              Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 3 of 12




         8.       The train arrived at the end of the line at the Ashmont station. An MBTA

inspector and another MBTA employee tried unsuccessfully to wake Mr. Watson.

         9.       Officer Bartlett responded to a call. He arrived at the train at about 1:43 a.m.

He shook Mr. Watson, waking him up him. Mr. Watson stood up and exited the train a few

steps ahead of Officer Bartlett. Mr. Watson had a backpack.

         10.      Mr. Watson stretched, pulled up his hoodie, and sat down on the platform.

Officer Bartlett looked around, turning his back to Mr. Watson for a moment.

         11.      At 1:45 a.m., Officer Bartlett gripped Mr. Watson’s right arm with his left

hand. Mr. Watson protested. As Officer Bartlett began to escort Mr. Watson along the

platform, he held his fully extended metal baton in his right hand.

         12.      As they walked, Mr. Watson was walking at a slower pace than Officer

Bartlett.

         13.      Suddenly Officer Bartlett pushed Mr. Watson and held him against a pillar. Mr.

Watson dropped his backpack.

         14.      Officer Bartlett raised his metal baton, cocked his arm back, and swung the

baton at Mr. Watson, hitting him in the shin/ankle area. Then Officer Bartlett struck Mr.

Watson with the baton two more times.

         15.      Mr. Watson stumbled and fell to the ground. He felt pain and burning in his

ankle.

         16.      Mr. Watson needed help getting up from the ground.

         17.      Officer Bartlett and the MBTA inspector led Mr. Watson up an escalator.




                                                   3
             Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 4 of 12




        18.      Once upstairs Officer Bartlett swore at Mr. Watson, told him to leave, and

pushed him out of the subway station.

        19.      The events at the MBTA station were recorded by MBTA surveillance

cameras.

        20.      Mr. Watson ran from the station to avoid further abuse, leaving his backpack

behind.

        21.      Officer Bartlett took Mr. Watson’s backpack in his police car. He located Mr.

Watson, got out of his car, and returned the backpack. Then Officer Bartlett said to Mr.

Watson, “Get the f--- out of here,” and drove away.

        22.      Mr. Watson asked a passing stranger to call 911 on his behalf to report that he

had been assaulted.

        23.      At 1:52 a.m., a radio call went out to Boston police officers to assist a man who

said he had been assaulted near the Ashmont T station.

        24.      Two Boston police officers arrived and began talking to Mr. Watson.

        25.      Officer Bartlett heard the radio call for Boston police officers. He turned his

car around and drove back towards the station. He falsely told the Boston officers that he

had been looking for Mr. Watson to arrest him because Mr. Watson had assaulted him on

the train.

        26.      The Boston police officers cancelled a call for an ambulance and allowed

Officer Bartlett to take custody of Mr. Watson based on his false claim that Mr. Watson

had assaulted him.




                                                 4
          Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 5 of 12




       27.     Officer Bartlett arrested Mr. Watson, handcuffed him with his hands behind

his back, and put him in his police car. When Mr. Watson protested his arrest Officer

Bartlett said, “All you had to do was leave.”

       28.     During the ride to the Transit police station Officer Bartlett told Mr. Watson

that no one would believe him because he was homeless.

       29.     Mr. Watson felt worthless. It seemed to him that Officer Bartlett was right

that Mr. Watson would not be believed instead he would be held in jail and likely convicted

of crimes he did not commit.

       30.     Officer Bartlett brought Mr. Watson into the Transit Police Department

(TPD) station. The events at the TPD station were recorded by surveillance cameras.

       31.     During booking Mr. Watson protested his arrest. He asked the other officers

to view the video from Ashmont station.

       32.     In front of several other Transit police officers, Officer Bartlett assaulted

Mr. Watson again. Officer Bartlett motioned towards Mr. Watson’s neck area and pushed

him backwards, saying, “This is why you are under arrest.”

       33.     Mr. Watson was defenseless; his hands were cuffed behind his back.

       34.     Sergeant David Finnerty, the officer in charge of the TPD station, and

Sergeant Kenny Orcel, the shift patrol supervisor, ignored Mr. Watson’s statements.

Instead, they assisted Officer Bartlett in drafting a false police report to justify Officer

Bartlett’s actions.

       35.     Had Sergeants Finnerty and Orcel behaved properly, Mr. Watson would

have been released from custody.



                                                 5
          Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 6 of 12




       36.     Instead, Mr. Watson was placed in cell at the TPD station. He remained in

the cell for 7 hours.

       37.     While in the cell, Mr. Watson experienced emotional anguish and physical

pain from the assaults. He also had gastric distress, for which he takes medicine. The TPD

officers failed to provide him with his medication or take any steps to help him.

       38.     Mr. Watson later described his mental anguish saying, “I’m just worthless.

You want to throw my life away.”

       39.     Finally Mr. Watson was released from custody after seven hours only when

Deputy Police Chief Sean Reynolds viewed the surveillance footage.

       40.     People who are homeless or addicted to alcohol or drugs are less likely to

complain about police misconduct because they feel that no one will take their complaints

seriously. This perception is real, as shown by Officer Bartlett’s statement to Mr. Watson

that no one would believe him.

       41.     If Mr. Watson’s claim was not captured by MBTA surveillance cameras he

likely would not have been believed.

       42.     Officer Bartlett and Sergeants Finnerty and Orcel were part of a group of

TPD officers who felt that people who were homeless, people with mental illness and

people suffering from alcoholism and drug addiction could be abused by TPD officers

without discipline by the TPD.

       43.     Other TPD officers, including the officers in the TPD station, looked the

other way when fellow officers abused people in these groups.




                                               6
         Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 7 of 12




       44.     The TPD allowed a policy or custom of tolerating abuse by TPD officers of

people who were homeless, people with mental illness and people suffering from

alcoholism and drug addiction. Homeless people and people suffering from alcoholism or

drug addiction are viewed as people who are powerless. As a result, they are easy targets for

abuse by transit police officers.

       45.     The TPD allowed a “code of silence” to exist which prevented other TPD

officers from reporting misconduct by fellow officers.

       46.     Supervising officers not only permitted misconduct, they helped cover up

other officers’ abuse.

       47.     Officer Bartlett and Sergeants Finnerty and Orcel participated in this code of

silence by helping Officer Bartlett cover up his physical abuse and arrest of Mr. Watson

without probable cause.

       48.     Officer Bartlett and Sergeants Finnerty and Orcel were following an

unconstitutional practice or custom that has existed for a long time in the TPD.

       49.     Both before and after the incident involving Officer Bartlett and Mr.

Watson, there were incidents with similar facts: a TPD officer assaulted someone they

perceived to be homeless and under the influence of a substance, the officer lied about

what happened, a supervisor assisted in covering up the assault, after the arrest the truth

was learned from surveillance video.

       50.     In July 1999, a seventy-three-year-old man, Mr. Donald Hutcheson, was

smoking a cigarette on the MBTA platform at Forest Hills. He was on a day pass from the




                                               7
          Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 8 of 12




Lemuel Shattuck Hospital. A TPD police officer saw him and thought he was a homeless

person.

       51.    A TPD officer handcuffed him, poked him with a collapsible baton and held

him both at the Forest Hill Station and at the TPD police headquarters before returning

him to the Shattuck Hospital. Other TPD officers assisted in a cover-up by not

documenting the arrest, and by lying on an activity log. Video from the police station

supported Mr. Hutcheson’s claim. Mr. Hutcheson filed suit in federal court, Civil Action

No. 00-10715-WGY. The MBTA settled his claim.

       52.    In 2014, TPD Police Officer Jennifer Garvey was mistreating a woman who

appeared to be inebriated at what was then the Dudley Square MBTA station. When

another patron, Mary Holmes, tried to prevent this misconduct Officer Garvey attacked

her and arrested her with the assistance of Officer Trinh. Officer Garvey’s supervising

officers tried to cover for her but video from the MBTA station contradicted Officer

Garvey’s report. Eventually Officer Garvey was charged criminally for assaulting Ms.

Holmes. She was found guilty after a trial and sentenced to serve time in custody. Ms.

Holmes filed suit. The MBTA settled the case. Part of the settlement required all MBTA

officers to undergo “Management of Aggressive Behavior Training.”

       53.    After Mr. Watson’s unlawful arrest, on April 22, 2020, TPD Police Officer

Morrissey dragged a 63-year-old homeless man from a bus at the Forest Hills Station,

pushed his head into the pavement, and dragged him out of the bus lane. The passenger

was an intoxicated black man. Officer Morrissey submitted a police report which, as in Mr.

Watson’s case, was contradicted by video from the station. Officer Morrissey assumed his



                                              8
         Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 9 of 12




word would be believed over the word of a homeless, intoxicated person, just like Officer

Bartlett felt some nine months earlier. Officer Morrissey resigned and his supervising

officer was placed on administrative leave.

       54.    Mr. Watson was physically injured and treated as worthless because he was

homeless. He knew that Transit Police Officer Bartlett and the other officers were

unwilling to listen to him. He feared he would be held in custody and convicted of

crimes when he was the victim of the actions of Officer Bartlett.

       55.    Mr. Watson suffered physical and emotional harm as a result of the use of

excessive force against him and his unlawful arrest.

         COUNT I: 42 U.S.C. Section 1983 – Fourth Amendment Claim

       56.    The above paragraphs are incorporated by reference.

       57.    Defendant Bartlett arrested Mr. Watson without probable cause.

       58.    Defendant Bartlett used unreasonable force on Mr. Watson.

       59.    Defendant Bartlett deprived Mr. Watson of his clearly established rights to

freedom from the use of unreasonable and excessive force and from arrest without

probable cause under the Fourth Amendment to the United States Constitution as

applied under the Fourteenth Amendment.

       60.    Defendants Finnerty and Orcel violated Mr. Watson’s right not to be held

in custody without probable cause by working to assist Defendant Bartlett in preparing a

false police report to justify an arrest they knew was without probable cause.

       61.    As a direct and proximate result of Defendants’ actions, Mr. Watson

suffered the injuries described above.



                                               9
        Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 10 of 12




             COUNT II: 42 U.S.C. Section 1983 – First Amendment Claim

       62.     The above paragraphs are incorporated by reference.

       63.     Defendant Bartlett arrested Mr. Watson in retaliation for his contacting the

Boston Police Department to complain about Defendant Bartlett’s improper use of force on

him.

       64.     Defendant Bartlett deprived Mr. Watson of his clearly established right to

freedom of speech under the First Amendment to the United States Constitution as applied

under the Fourteenth Amendment.

       65.     As a direct and proximate result of Defendant’s actions, Mr. Watson suffered

the injuries described above.

                        COUNT III: 42 U.S.C. Section 1983 – MBTA

       66.     The above paragraphs are incorporated by reference.

       67.     The MBTA allowed a policy or custom to develop among police officers

working for the TPD tolerating abuse by TPD officers of people who were homeless,

people with mental illness and people suffering from alcoholism and drug addiction.

       68.     The TPD allowed a “code of silence” to exist, which prevented TPD

officers from reporting misconduct by fellow officers, including abuse of the people

described above.

       69.     The policies and customs of the TPD were the moving force behind the

conduct of Officer Bartlett and Sergeants Finnerty and Orcel.

       70.     As a direct and proximate result of Defendants’ actions, Mr. Watson suffered

the injuries described above.



                                              10
        Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 11 of 12




                     COUNT IV: State Claim - Assault and Battery

       71.      The above paragraphs are incorporated by reference.

       72.      Defendant Bartlett, without right or privilege, assaulted and beat Mr. Watson

before and during his arrest, in an extreme and outrageous manner, thereby causing him

great damage.

       73.      As a direct and proximate result of Defendant’s actions, Mr. Watson

suffered the injuries described above.

                           COUNT V: State Claim - False Arrest

       74.      The above paragraphs are incorporated by reference.

       75.      Defendant Bartlett arrested Mr. Watson without probable cause.

       76.      Defendant’s arrest of Mr. Watson was unwarranted, malicious, and was in

retaliation for, and to punish Mr. Watson for, exercising his right to freedom of speech.

       77.      As a direct and proximate result of Defendant’s actions, Mr. Watson

suffered the emotional distress described above.

                                    RELIEF REQUESTED

       WHEREFORE, the plaintiff requests that this Court:

       1.       Award compensatory damages;

       2.       Award the costs of this action, including reasonable attorney’s fees; and

       3.       Award such other and further relief as this Court deems just and appropriate.

                                   JURY TRIAL DEMAND

                 The Plaintiff demands a jury trial on all counts so triable.




                                                 11
       Case 1:21-cv-11147-FDS Document 1 Filed 07/13/21 Page 12 of 12




                                          Respectfully submitted,
                                          Plaintiff, Anthony Watson
                                          By his attorneys,



                                          /s/ Jeffrey Wiesner
                                          Jeffrey Wiesner (BBO No. 655814)
                                          Jennifer McKinnon (BBO No. 657758)
                                          Wiesner McKinnon LLP
                                          90 Canal Street
                                          Boston, MA 02114
                                          Tel.: (617) 303-3940
                                          Fax: (617) 507-7976
                                          Email: jwiesner@jwjmlaw.com
                                          Email: jmckinnon@jwjmlaw.com



Dated: July 13, 2021




                                     12
